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                                                                     11092 North Hydrus Avenue
                                                                     Oro Valley, AZ 85742
                                                                     September 22, 2022


 The Honorable Gonzalo P. Curiel
 Edward J. Schwartz Courthouse
 221 West Broadway
 San Diego, CA 92101

 Re: United States of America v. Mark D. Manoogian et al, Case No. 18-CR-46836-GPC

 Dear Honorable Judge Curiel,

          My name is Matthew Manoogian, and I am the older brother of Mark Manoogian. I work
 as a federal law enforcement officer in Tucson, Arizona. Suffice to say, I am familiar with these
 letters in support of sentencing, but I never thought I would have to write one, especially in
 support of my younger brother, who I deeply love and greatly admire.

         One amazing blessing of this precious gift of human life is that as we age, we are
 afforded the opportunity to look back at the lives of those closest to us, and see how much they
 have accomplished. It has been a privilege to watch Mark go from a little brother who was
 protective but not controlling, to a talented high school athlete that was the ultimate teammate
 and friend, to a stellar student through college and law school, and then to a loving husband to
 Niki and a loving father to Max and Theo.

         Mark has always been selfless with a unique ability to easily love those close to him
 unconditionally and sacrificially. In life, we come across people that casually say, "let me know
 if you need anything," and then secretly hope nobody asks anything from them. If Mark says
 that, he means it every time no matter the inconvenience to him.

       Since I have known Mark my entire life, I have several stories that speak to the warmth
 and scope of his personality and character. I will offer a few.

        In 2006, I graduated law school, then failed the Massachusetts Bar Exam. I took it
 especially hard, and Mark knew this since he lived with me at the time. Two years later, Mark
 graduated the same law school, passed the bar exam, and never told me. My parents let me
 know his results and told me he felt guilty sharing his own good news with me. To this day, he
 has never talked about it with me.

          My wife Melissa and I were engaged in February of 2015. Three months later, Melissa's
 stepmother, Marianne Valdez, passed away due to heart complications. It was a very sad and
 tragic time, as Melissa was extremely close to Marianne, and I was excited at the prospect of her
 being my mother-in-law. Mark, without being asked, drove the six hours from San Diego to
 Tucson the day of the memorial service, and then drove back to San Diego the next morning to
 spend the last part of his weekend with his wife Niki. We never expected him to attend, but he
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 realized the impact his presence and support would have on me, and more importantly Melissa,
 his future sister-in-law.

        In 2019, my wife Melissa gave birth to our son Jacob. Mark flew in from San Diego to
 meet his nephew, congratulate us in person and then spent the next several days cleaning, and
 allowed us to nap while he cleaned and made multiple trips to Target and the local grocery store.
 He did all this with such a glad heart, and with Niki and Max (who was 16 months old) back in
 San Diego.

         Mark has an exhaustive list of citizenship awards, sports accomplishments, and academic
 accolades. However, those do not do Mark any justice, because they do not shed enough light on
 his humanity. If a neutral third party started to dig into his life, I believe they would find a whole
 lot of humanity in my brother, Mark Manoogian.

        I am unbelievably proud to write this letter in support of Mark. When he asked me to do
 so, I sensed reluctance in his voice, because I knew he thought about my profession first and
 foremost, despite his current situation. That is the Mark I know and love.

        Finally, I know through our conversations since 2017 that Mark has learned a great deal
 from this matter. He is eager to move on with renewed perspective and higher standards for
 himself in all facets of life, personally as a father, husband, protector, and role model, as a citizen
 and community member, and professionally in any future endeavors.

           Thank you Your Honor for your consideration and setting aside your time to read this
 letter.

 Sincerely,



 Matthew Manoogian

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